                Case 2:21-mj-05270-DUTY Document 2 Filed 11/17/21 Page 1 of 1 Page ID #:2
Submit this form bye-mail to:

CrimIntakeCourtDocs-LAC~cacd.uscourts.gov For Los Angeles criminal duty.                                          ~ ~ ~'"~ D

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                                                                                                       9~7af ►1f1V 1 Z      DE!

                                               UNITED STATES DISTRICT COURT                                                          i~; ~ ,
                                             CENTRAL DISTRICT OF CALIFORNIA                                '-. ~ ~' k° ~ ~ ~ '' '-~ ~"~

                                                                           CASE NUMBER:                 ~ r ~ _ env. __~__._._.~...~...__ .._:.
UNITED STATES OF AMERICA
                                                           PLAINTIFF           a i ~ e ~ _ ~~
                    V.

   ~,~o,;~. ~a~l'~a,.an                                                           REPORT COMMENCING CRIMINAL
                                                                                                   ACTION
USMS#                                                    DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT                                                                   ~ ~ ~~ ~ ~ ~ ~ o

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1• The defendant was arrested in this district on 11 ~ ~ ~ ~ ap'a~                at    :j3 [~,AM ❑ PM
     or
     The defendant was arrested in the                       District of                  on               at               ❑ AM ~ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:             ~ Yes        [~ No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                  ~ Yes       ❑ No

4. Charges under which defendant has been booked:

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    ~',~I~. Ise ~ --~~~ ~~ia(~~~a); ~SiaC~)~i~ 63~
5. Offense charged is a:             ~Felony        ❑Minor Offense               ❑Petty Offense         ❑Other Misdemeanor

6. Interpreter Required:          [,~ No     ❑Yes           Language:

7• Year of Birth:        ~ ~ 9 ~-~

8. Defendant has retained counsel:                ~ No
    ~Yes     Name:-~i C~ ~(~~n L~10.~-~-i ni0.Y1                                  Phone Number: C3 ~ (~~ q a O ~ 7~I
                     ~
9• Name of Pretrial Services Officer notified:

10. Remarks (if any):

11. Name:         ~,~:~~ ~0~~                                       (please print)

12. Office Phone Number: ~3~ O)~ ~~ - ~ ~ R ~                                          13. Agency:            ~~ l

14. Signature:                          _                                              15. Date:     1 I ~ ~ ~ I a'~ ~p
CR-64(09/20)                                      REPORT COMMENCING CRIMINAL ACTION
